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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

                        CASE NO. 4:22-cv-304-MW-MAF

LEROY PERNELL, et al.,

      Plaintiffs,

v.

FLORIDA BOARD OF GOVERNORS OF
THE STATE UNIVERSITY SYSTEM, et al.,

     Defendants.
_____________________________________/
         MOTION BY MEMBERS OF THE FLORIDA HOUSE OF
       REPRESENTATIVES TO QUASH NON-PARTY SUBPOENAS

      Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Representatives

Andrade, Bell, Borrero, Fernandez-Barquin, Fine, Maggard, Massullo, McClain,

Overdorf, Payne, Roth, Shoaf, Sirois, and Truenow (“the Legislators”) hereby move

to quash the subpoenas served on November 17, 20221 (“the subpoenas”).

                                 INTRODUCTION

      Plaintiffs challenge the constitutionality of Florida’s Individual Freedom Act



1
  In order to accommodate an ongoing dialogue between counsel, as well as an
intervening special legislative session and Plaintiffs’ counsel’s holiday vacations,
Plaintiffs thereafter stipulated to extend the time to respond to the subpoenas until
January 13, 2023. Plaintiffs further stipulated in writing that a motion to quash filed
by that date would be timely.
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(“the Act”) and complain primarily that it infringes the First Amendment and that it

is impermissibly vague. This Court issued a preliminary injunction on those grounds,

and that injunction is currently on appeal. Plaintiffs also claim, however, that the Act

violates the Equal Protection Clause and that it was “enacted for a racially

discriminatory purpose.” Doc. 76 at 95.

      The Act, in pertinent part, provides that it constitutes prohibited

discrimination to subject a student in Florida’s public educational institutions to

instruction that promotes certain enumerated concepts—among them, that

“[m]embers of one race . . . are morally superior to members of another race[.]” Fla.

Stat. § 1000.05(4)(a) (2022). With regard to their equal protection claim, then,

Plaintiffs apparently contend that a state violates the Equal Protection Clause when

it prohibits its educational employees from, inter alia, instructing students that one

race is superior to another.

      On that dubious premise, Plaintiffs have issued burdensome subpoenas to 14

members of the Florida House of Representatives (none of whom are parties to this

action), apparently in the hope that someone once said something about Critical Race

Theory—or about dozens of other race-related topics—that could be used to

demonstrate that the Act was imbued with an improper legislative motive in

violation of the Equal Protection Clause. As this Court and the Eleventh Circuit have

recognized, the legislative privilege prohibits these sort of fishing expeditions even


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where a plaintiff invokes a provision of the United States Constitution and claims

that lawmakers had an improper motive. Additionally, the scope of the subpoenas

violates Rule 45 because of its nearly boundless reach. For these reasons and others

explained below, the Legislators request that this Court quash the subpoenas.

                                 BACKGROUND

      Through the subpoenas,2 Plaintiffs seek three years’ worth of communications

and other documents that relate not only to the Act and to “critical race theory”

(hereafter, “CRT”), but also to “Racial Justice Protests” and “Black Lives Matter.”3

Plaintiffs seek such communications between the Legislators (including their staff)

and Defendants; the Governor or the Executive Office of the Governor; other

legislators; Christopher Rufo; and their respective employees and staff. Plaintiffs

also seek communications between the Legislators (including their staff) and any

employees or staff of the Boards of Trustees for any State University System

institution. See Exhibit 1, Requests #1–11. Plaintiffs also seek all “notes,

memoranda, research, written analysis, white papers, studies, reports, or opinions

relied upon, created by, or reviewed by” the Legislators and their staff regarding the




2
  As the subpoenas served on the Legislators are identical in substance, the
Legislators attach one such subpoena as Exhibit 1.
3
 As explained infra, Plaintiffs’ definitions of those terms are extraordinarily broad
and vague and are themselves sufficient to warrant judicial relief.
                                          3
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creation, drafting, enactment, implementation, and enforcement of the Act. Id.,

Requests #12–15.

      Finally, Plaintiffs demand transcripts, drafts, and copies of all public

statements relating to the foregoing subject matter (Request #16); all documents and

communications “assessing or predicting the potential impacts” of the Act (Request

#17); and all documents and communications exchanged between the Legislators

(including their staff) and any other legislator or any member of the Executive Office

of the Governor (including their respective staff) regarding the legislative hearings

or “any concerns or opposition to [the Act] shared or voiced during such hearings”

(Request #18).

      The Legislators timely served objections on December 1, 2022, asserting the

legislative privilege and a series of other detailed objections. Counsel met and

conferred on December 7, at which time Plaintiffs’ counsel and the undersigned

counsel both requested additional time to consider various issues raised during the

meeting and to consult with their clients. Plaintiffs subsequently extended the return

dates of the subpoenas until January 13, 2023, in order to facilitate that process.

Counsel had several additional meetings in the interim, during which time Plaintiffs

presented an onerous wish list of 73 proposed search terms—including terms as

general as “civil rights” and “protest” and as patently irrelevant as “sexism” and




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“feminism.”4 See Exhibits 2 and 3. Unfortunately, this motion has now become

necessary.

                                    ARGUMENT

I.    THE  SUBPOENAS SHOULD BE QUASHED BECAUSE THEY ARE BARRED BY
      LEGISLATIVE PRIVILEGE.

      Rule 45 requires the Court to “quash or modify a subpoena that . . . requires

disclosure of privileged or other protected matter . . . .” Fed. R. Civ. P.

45(d)(3)(A)(iii). “The legislative privilege ‘protects against inquiry into acts that

occur in the regular course of the legislative process and into the motivation for those

acts.’” In re Hubbard, 803 F.3d 1298, 1310 (11th Cir. 2015) (emphasis in original)

(citation omitted). Plaintiffs seek legislative discovery in connection with their equal

protection claim,5 apparently hoping that they might identify a document that would

show a discriminatory purpose. See Jones v. Governor of Fla., 15 F.4th 1062, 1065

(11th Cir. 2021) (alteration in original) (citation omitted) (“[P]roof of discriminatory

intent or purpose is a necessary prerequisite to any Equal Protection Clause claim.”).

Because “[t]he subpoenas’ only purpose [is] to support the lawsuit’s inquiry into the




4
  During the parties’ last meet-and-confer on January 11, 2023, Plaintiffs’ counsel
indicated that they would be willing to eliminate some of the proposed search terms
but that they would still insist on the majority of the proposed search terms.
5
 Counsel for Plaintiffs (Mr. Edwards) confirmed as much to the undersigned counsel
during one or more of their meet-and-confer conversations.
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motivation behind [the Act],” however, the subpoenas “strike[] at the heart of the

legislative privilege.” Hubbard, 803 F.3d at 1310.

      The legislative privilege “protects the legislative process itself,” and therefore

protects “legislators’ actions in the proposal, formulation, and passage of

legislation.” Id. at 1308 (citing Tenney v. Brandhove, 341 U.S. 367, 372 (1951)). It

also “furthers the policy goals behind legislative immunity by preventing parties

from using third-party discovery as an end-run around legislative immunity—

harassing legislators through burdensome discovery requests.” League of Women

Voters of Fla., Inc. v. Lee, 340 F.R.D. 446, 453 (N.D. Fla. 2021).

      Given that the only apparent purpose of the subpoenas is to try to discover

evidence of an improper legislative motive or purpose, the “factual heart” of

Plaintiffs’ equal protection claim “and the scope of the legislative privilege [are] one

and the same: the subjective motivations of those acting in a legislative capacity.”

Hubbard, 803 F.3d at 1311.

      The majority of the requests in the subpoenas seek communications (and

related documents) between the Legislators6 and others who (to the extent such

communications exist) would have been part of the legislative process. The most

obvious example is Plaintiffs’ request for communications between the Legislators


6
 The requests extend to the Legislators’ staff, but the legislative privilege “extends
also to [the Legislators’] staff members.” Fla. v. U.S., 886 F. Supp. 2d 1301, 1302
(N.D. Fla. 2012).
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and other legislators. But communications with Defendants, the Governor’s office,

or members of the Boards of Trustees regarding the Act likewise would be part of

the legislative process. So too would communications with Mr. Rufo if any

Legislator had communicated with him regarding the subject-matter of the Act. See,

e.g., League of Women Voters, 340 F.R.D. at 454 (“communications with third

parties are subject to legislative privilege so long as those communications were part

of the formulation of legislation”).7 Thus, for example, when Plaintiffs request

communications between the Legislators and the Governor’s office “regarding H.B.

7 or Critical Race Theory” (Request #3), they are asking for communications

relating to the Legislators’ “actions in the proposal, formulation, and passage of [the

Act]” and therefore are requesting documents that are protected by the privilege.

Hubbard, 803 F.3d at 1308.

      Conversely, to the extent such communications exist but are unrelated to the

“proposal, formulation, [or] passage” of the Act, they would not be relevant anyway

and therefore would not be discoverable for that alternative reason. See, e.g.,

Hubbard, 803 F.3d at 1311 (“Any material, documents, or information that did not



7
  See also Bruce v. Riddle, 631 F.2d 272, 280 (4th Cir. 1980) (“Meeting with
‘interest’ groups, professional or amateur, regardless of their motivation” is
privileged because it “is a part and parcel of the modern legislative procedures
through which legislators receive information possibly bearing on the legislation
they are to consider.”); see Kalinoski v. Lackawanna Cty., 511 F. App’x 208, 213
(3d Cir. 2013) (same).
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go to legislative motive was irrelevant to the retaliation claim, while any that did go

to legislative motive was covered by the legislative privilege.”).8 Stated simply,

because the only purpose of the subpoenas is to try to discover evidence of improper

legislative motive, any documents that might bear on a Legislator’s motive are

covered by the privilege, and any documents would not bear on a Legislator’s motive

are irrelevant.

      Finally, the legislative privilege does not yield merely because Plaintiffs have

invoked a provision of the United States Constitution. See, e.g., League of Women

Voters, 340 F.R.D. at 456 (“merely asserting a constitutional claim is not enough to

overcome the privilege”). The Legislators maintain (as their colleagues did in

League of Women Voters) that the privilege is absolute in civil cases, and particularly

in a civil case such as this one where there is nothing “extraordinary” about the

nature of the civil claim. League of Women Voters, 340 F.R.D. at 456. See also Fla.

v. U.S., 886 F. Supp. 2d 1301, 1303 (N.D. Fla. 2012) (recognizing that legislative

privilege issues arise routinely in voting rights cases and in equal protection cases

and that “the critical question” in both types of commonplace cases “often is whether

the legislature acted with a discriminatory purpose”). Indeed, “the Supreme Court

has explained that, for purposes of the legislative privilege, there is a fundamental



8
  As explained infra, Rule 45 requires quashal to the extent that a subpoena requests
irrelevant information.
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difference between civil actions by private plaintiffs and criminal prosecutions by

the federal government.” Hubbard, 803 F.3d at 1311–12 (citing U.S. v. Gillock, 445

U.S. 360, 372–73 (1980)).

       But even if the Court applies the five-factor balancing approach that it did in

League of Women Voters, the subpoenas should still be quashed (or at least severely

curtailed). In that case, even after finding that the relevance, “availability of other

evidence,” and “seriousness of the litigation” factors all weighed in favor of

disclosure, this Court nonetheless concluded that the last factor weighed so “heavily

in favor of non-disclosure” that it largely counteracted the other factors. Id. at 458.

      That “final factor is the legislative privilege’s purpose.” Id. at 457. As this

Court has already recognized, the privilege “shields [legislators] from political wars

of attrition in which their opponents try to defeat them through litigation rather than

at the ballot box.” Id. (quoting E.E.O.C. v. Washington Suburban Sanitary Comm’n,

631 F.3d 174, 181 (4th Cir. 2011)) (alteration in original). Moreover, “the need to

encourage frank and honest discussion among lawmakers favors nondisclosure.” Id.

(citation omitted). In light of the purpose of the privilege, this Court “[struck a]

balance” by allowing only the production of “documents containing factually based

information used in the decision-making process or disseminated to legislators or




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committees, such as committee reports and minutes of meetings.”9 Id. at 458. Surely,

Plaintiffs are entitled to “nothing more” here.10 Id.

II.    THE SUBPOENAS SHOULD BE QUASHED BECAUSE THEY IMPOSE AN UNDUE
       BURDEN AND SEEK IRRELEVANT INFORMATION.

       A.    The subpoenas impose an undue burden.

       Rule 45 also requires the Court to “quash or modify a subpoena that . . .

subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iv). Indeed, “[a]

party or attorney responsible for issuing and serving a subpoena must take

reasonable steps to avoid imposing undue burden or expense on a person subject to

the subpoena.” Fed. R. Civ. P. 45(d)(1). Plaintiffs have not done so here. Instead,

Plaintiffs’ subpoenas are unduly burdensome for numerous reasons.

       First, three of the four terms that make up the lion’s share of the requests are

defined in a manner that is hopelessly vague. With regard to CRT, rather than asking

the Legislators for documents that mention CRT, Plaintiffs ask for all CRT-related

communications and define the term to mean “the framework to identify and


9
  The Legislators note that committee meeting packets and staff analysis are publicly
available on the House website, and that videos of the committee hearings
themselves are available on the Florida Channel website. See, e.g., House Education
& Employment Committee hearing, February 8, 2022, available at
https://thefloridachannel.org/videos/2-8-22-house-education-employment-
committee/.
10
   During the course of counsel’s several meet-and-confer conversations, they
discussed the scope of this Court’s League of Women Voters ruling but ultimately
were unable to agree on its scope.
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challenge ways racism is embedded in American society”—thereby leaving it to the

Legislators to speculate about the contours of that “framework.” See Exhibit 1 at 5.

This would be a hopeless task, of course, and any requirement to do so would be

unduly burdensome. Yet Plaintiffs have insisted that limiting a search to documents

that mention “CRT” or “critical race theory” would be insufficient.

      Plaintiffs’ definition of “Black Lives Matter” is similarly vague and would

impose an undue burden. Plaintiffs use the term to “encompass[] all affiliated

community organizations and individuals in the broader Black Lives Matter

collective.” Id. Again, rather than simply asking for documents that mention “Black

Lives Matter,” Plaintiffs apparently demand an expansive search that would include

documents “regarding” unidentified “affiliated community organizations” and

“individuals” that are part of an amorphous, broader “collective” that “aim to abolish

institutional racism.” As just one example of the resulting undue burden, Request #2

(the first request to mention Black Lives Matter) would require the Legislators to

identify all documents “reflecting communications” “regarding” any unnamed

individuals who are part of the undefined BLM “collective.” This too would be a

hopeless and unduly burdensome endeavor. Similarly, Plaintiffs impose an undue

burden by placing the onus on the Legislators to determine what “other term[s],

phrase[s], or hashtag[s] [are] reasonably related to the Black Lives Matter

movement.” Id.


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      Their definition of “Racial Justice Protests” suffers the same infirmities. It

extends even to “statements” and “self-expressions” “made in an individual . . .

capacity to advocate for principles of racial justice, racial equality, racial equity, and

ending racism.” Id. at 5–6. Indeed, Plaintiffs define the term to include even any

“private expression of objection, disapproval, or dissent” (to what, they do not

specify). As just one example of the resulting undue burden, Request #2 (the first

request to mention “Racial Justice Protests”) would require the Legislators to

identify all documents “reflecting communications” “regarding” any individual’s

“self-expressions” that might be part of that individual’s subjective “efforts” to

“improve racial equity.” There is no discernable way to do so, and it would impose

an undue burden on the Legislators if they were required to attempt such a futile

task. And it bears emphasis that the attached list of proposed search terms resulted

from counsel’s invitation to Plaintiffs to clarify what they were requesting, largely

because of these vague definitions.

      Next, the three-year timeframe for the subpoenas is overbroad and unduly

burdensome. As this Court recognized in its injunction order, the Governor

“originally announced” a legislative proposal that preceded the Act in December

2021. Doc. 63 at 2, n. 2. Yet the subpoenas would require production of documents

dating back to January 1, 2020. Exhibit 1, at 9. And even though Plaintiffs’ counsel




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eventually offered to reduce that timeframe to no earlier than March 1, 2021,11 that

“best and final” offer is still nearly a year before the Governor even announced his

proposed bill.

      Moreover, Plaintiffs’ insistence that the Legislators produce a privilege log

imposes an undue burden, both for the reasons expressed in Hubbard and because

Plaintiffs’ definitions are so vague that a comprehensive group of responsive

documents cannot be gathered even if the privilege and other objections had not been

asserted. Plaintiffs also want not only the Legislators’ communications, but even the

communications to or from their staff members. This only exacerbates the foregoing

undue burdens. But each of the foregoing burdens compound the others when

considered together, and collectively they render the subpoenas egregiously

overbroad and unduly burdensome.

      B.     The subpoenas call for irrelevant information.

       “While Rule 45 does not specifically identify irrelevance as a reason to quash

a subpoena, it is generally accepted that the scope of discovery allowed under Rule

45 is limited by the relevancy requirement of the federal discovery rules.” Jordan v.

Commissioner, Miss. Dept. of Corrections, 947 F.3d 1322, 1329 (11th Cir. 2020).

“Thus, a subpoena issued under Rule 45 should be quashed to the extent it seeks


11
  Plaintiffs’ justification was that the Governor “publicly spoke out against CRT”
in March 2021, thereby rendering all CRT-related communications relevant from
that point forward.
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irrelevant information.” Id. “As indicated by the language of Rule 26, the relevance

of information sought in discovery depends on the claims asserted in the underlying

action and the legal standards that govern those claims.” Id.

      Although documents regarding the Act (or documents that mention critical

race theory) might be relevant, documents regarding “racial justice protests” and

“Black Lives Matter” are not. And that is true even before accounting for the

substantial overbreadth and vagueness problems identified above with regard to

Plaintiffs’ definitions of those terms, and even without accounting for Rule 26’s

proportionality requirement. See, e.g., G.H. v. Marstiller, No. 4:19cv431-mw/cas,

2020 WL 13228155, at *2 (N.D. Fla. Mar. 24, 2020) (recognizing that a subpoena

issued under Rule 45 is subject to Rule 26’s proportionality standard).

      Even assuming those terms can be defined cogently, if those terms are within

the scope of relevant discovery then it would seem that any race-related terms would

be fair game. Indeed, as Plaintiffs’ proposed search terms demonstrate, they

apparently believe that to be so. See Exhibit 3 (asking the Legislators to search for

and review all documents mentioning terms such as “racist” and “racial”). But it

cannot be said that any communication relating to the topic of race, or even any

document that mentions protests or Black Lives Matter, makes any facts in this case




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“more likely.”12 League of Women Voters, 340 F.R.D. at 459. Accordingly, such

documents are neither relevant nor proportional to the needs of this litigation. Cf.

Greater Birmingham Ministries v. Sec. of State for State of Alabama, 992 F.3d 1299,

1324 (11th Cir. 2021) (expressing “skepticism” that “discriminatory intent could be

ascertained from the statements of one legislator speaking about another bill”).

                                  CONCLUSION

      For the foregoing reasons, the Legislators respectfully request that the Court

enter an order quashing the subpoenas.

                                       Respectfully submitted,

                                       /s/ David Axelman
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                                       Counsel for Non-Party Representatives




12
   Were it otherwise, a plaintiff alleging a discriminatory motive for any legislation
would have carte blanche to demand all documents mentioning any term that relates
to race.
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                       CERTIFICATE OF CONFERRAL
       In accordance with Local Rule 7.1(B), I hereby certify that I conferred with

Plaintiffs’ counsel repeatedly, beginning on December 7, 2022, and ending on

January 11, 2023, in a good-faith attempt to resolve the issues raised herein, and that

the parties were unable to resolve the issues raised in this motion.

                          /s/ David Axelman


                         RULE 7.1(F) CERTIFICATION
       In accordance with Local Rule 7.1(F), I hereby certify that the foregoing

memorandum contains 3,220 words, excluding the case style, signature block, and

certifications.

                                 /s/ David Axelman




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